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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OKLAHOMA

    STATE OF OKLAHOMA, et al.,                   )
                                                 )
                           Plaintiffs,           )
                                                 )
    v.                                           )   Case No.: 05-cv-329-GKF-SH
                                                 )
    TYSON FOODS, INC, et al.,                    )
                                                 )
                           Defendants.           )

         PLAINTIFFS’ RESPONSE TO ORDER OF THE COURT SUPPLEMENTING
                       EXPERT GREG SCOTT DISCLOSURES

          The State of Oklahoma (“the State” respectfully submits the following:



   “Annually, only about 20 – 30% of the P applied to agricultural land is exported directly out of the
   watershed (in runoff or removal in grain and animal produce). The remaining 70-80% of applied
   P enters stores in soil, river sediments, groundwater, wetlands, riparian floodplains, lakes, and
   estuaries (Jarvie et al. 2013).” Figure 1 from Jarvie et al. (2013) also summarizes work presented
   by Sharpley et which summarizes the residencies and recycling time of phosphorus in various
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   ortions     of      the      watershed      lasting      from      months       to      millennia.




   Sharpley et al. (2013) cited research that stated reducing high soil phosphorus to levels that
   have a lower risk to enrich runoff with phosphorus may take decades.
   Finally, Kleinman et. al. (2011) found that while halting further phosphorus addition to already
   phosphorus rich soils might decrease the rate at which dissolved phosphorus leached from
   those soils, the already accumulated phosphorus may persist for decades.
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   Literature cited:
   Jarvie, H., A. Sharpley, B. Spears, A. Buda, L. May and P. Kleinman. 2013. Water quality
   remediation faces unprecedented challenges from “legacy phosphorus”. J. Environmental
   Science and Technology. Vol. 47: 8997-8998.
   Kleinman, P., A. Sharpley, A. Buda, R. McDowell, and A. Allen. 2011. Soil controls of phosphorus
   in runoff: management barriers and opportunities. Canadian J. Soil Science. Vol: 91: 329-338.

   Sharpley, A. H. Jarvie, A. Buda, L. May, and P. Kleinman. 2013. Phosphorus legacy: overcoming
   the effects of past management practices to mitigate future water quality impairment. J.
   Environmental Quality. Vol. 42: 1308-1326.


                                                 Respectfully submitted,

                                                 RIGGS, ABNEY, NEAL TURPEN,
                                                 ORBISON & LEWIS, PC


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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 2nd day of December 2024, I electronically transmitted the

   foregoing document to the Clerk of Court using ECF system for filing and transmittal of a Notice

   of Electronic Filing to the ECF registrants with entries of appearnce3 filed of record.


                                                                  /s/ M. David Riggs
